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July 12, 2018



The Honorable David E. Jones
United States District Court
Eastern District of Wisconsin
517 East Wisconsin Avenue
Milwaukee, WI 53202

        Re:     Robinson v. Krembs, et al.
                Case No. 17-cv-0349

Dear Judge Jones:

        We have met with Plaintiff Nathaniel Robison and will be representing him in
this case going forward. We have filed the required Agreement to Reimburse Pro Bono
Fund and our Appearances contemporaneously with this letter. We are prepared to
move forward with a status conference at the Court’s convenience.

                                              Sincerely,


                                              /s/ Katharine H. Campbell



cc:      Laure C. Rakvic-Farr (via ECF system)




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